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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS

SHERIDON SHELBY,                                §
                                                §
Plaintiff,                                      §
                                                §          Civil Action No. 318-CV0532-B
v.                                              §
                                                §
KWIK KAR/GUIDE STAR,                            §
                                                §
Defendants.                                     §

      ORDER GRANTING KWIK INDUSTRIES’ MOTION TO VACATE ENTRY OF
                   DEFAULT AND MOTION TO DISMISS

        Before the Court is Kwik Industries, Inc.’s Motion to Vacate Entry of Default and Motion

to Dismiss (“Motion”) (ECF No. __) After considering the Motion, the Court is of the opinion that

the Motion should be GRANTED. It is therefore,

        ORDERED that Plaintiff’s Complaint against Kwik Industries is hereby dismissed with

prejudice.

        SIGNED: ____________ ____, 2018.



                                                    ____________________________________
                                                    Jane J. Boyle
                                                    United States District Judge
